USCA Case #23-1092       Document #1995089         Filed: 04/17/2023    Page 1 of 4



              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

FOOD AND WATER WATCH, et al.,

             Petitioners,
                                                Case No. 22-1253
       v.
                                                (consolidated with Case No. 23-
                                                1092)
U.S. ENVIRONMENTAL
PROTECTION AGENCY, et al.,

             Respondents.

   UNCONTESTED MOTION TO EXTEND THE DEADLINE TO FILE
                 MOTIONS TO GOVERN
      Respondents United States Environmental Protection Agency and

Administrator Michael S. Regan (“EPA”) move to extend the deadline to file

motions to govern to May 22, 2023. This motion is unopposed. In support of this

motion, EPA states:

      1.    On April 4, 2023, the Second Circuit Court of Appeals transferred

these cases to the D.C. Circuit. Doc. #1993651. This Court consolidated the

matters and ordered the parties to file motions to govern by April 21, 2023. Doc.

#1993657.

      2.    These consolidated petitions challenge EPA’s issuance of the

“Authorization to Discharge under the National Pollutant Discharge Elimination

System Permit Number FLA00001,” issued on June 8, 2022.
USCA Case #23-1092        Document #1995089          Filed: 04/17/2023    Page 2 of 4



      3.     The permittee recently informed EPA that it is considering and likely

to opt for a change in fish species and possibly an altered facility design. EPA is

awaiting more information from the permittee.

      4.     EPA seeks time to gain more information about the possible

modification and timeline for a possible modification request and to determine how

such a modification could affect the litigation.

      5.     In the interest of conserving the Court’s and the Parties’ resources,

EPA thus asks that the deadline to file motions to govern be extended from April

21, 2023, to May 22, 2023.

      6.     Undersigned counsel conferred with counsel for the parties, including

counsel for the parties to Case No. 23-1092. The parties to all cases to do not

oppose the relief requested in this motion.




                                          2
USCA Case #23-1092      Document #1995089       Filed: 04/17/2023   Page 3 of 4



                                   Respectfully submitted,

                                    /s/ Lucy E. Brown
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Dated: April 17, 2023




                                     3
USCA Case #23-1092        Document #1995089          Filed: 04/17/2023    Page 4 of 4



             CERTIFICATE OF SERVICE AND COMPLIANCE

      I hereby certify that on April 17, 2023, I electronically filed the foregoing

Uncontested Motion to Extend the Deadline to File Motions to Govern with the

Clerk of the Court for the United States Court of Appeals for the District of

Columbia Circuit by using the CM/ECF system, which will send notification of

such filing to all counsel of record.

      This document complies with the length limit of Federal Rule of Appellate

Procedure 27(d)(2)(A), because, excluding the parts of the document exempted by

Federal Rule of Appellate Procedure 32(f), the document contains 245 words by

Microsoft Word for Microsoft 365’s word count utility.

      This document complies with the typeface and type style requirements of

Federal Rules of Appellate Procedure 27(d)(1)(E) and 32(a)(5)–(6), because it was

prepared in a proportionally spaced typeface using Microsoft Word for

Microsoft 365 in 14-point Times New Roman.



                                              /s/ Lucy E. Brown
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